                Case 1:20-cr-00074-MSM-LDA Document 3-1 Filed 05/04/20 Page 1 of 1 PageID #: 4
                                                                                                                                   PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO.                 0-/'$

Matter Sealed:             Juvenile            Other than Juvenile                    USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                           DAVID ADLER STAVELEY
                                                                                  Defendant:
                                      Indictment         Charges/Counts Added
                                      Information                                                  a/k/a “Kurt David Sanborn,” a/k/a “David
Name of District Court, and/or Judge/Magistrate Location (City)                    Address:        Sanborn”

UNITED STATES DISTRICT COURT                    RHODE ISLAND
DISTRICT OF NEW MEXICO
            RHODE ISLAND                        Divisional Office

                                      AARON WEISMAN
Name and Office of Person
Furnishing Information on             ; U.S. Atty       Other U.S. Agency
THIS FORM                             Phone No.     (401) 709-5044                          Interpreter Required    Dialect:
 Name of Asst.
 U.S. Attorney         LEE H. VILKER
 (if assigned)                                                                      Birth                                  ✔ Male                 Alien
                                                                                    Date                                        Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 Federal Bureau of Investigation                                                    Social Security Number

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                    DEFENDANT


                                                                                  Issue:        ✔ Warrant            Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                  Location Status:
                                                                                  Arrest Date               or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were                                                  Currently in Federal Custody
           dismissed on motion of:
                                                                                            Currently in State Custody
               U.S. Atty      Defense
                                                            SHOW                                  Writ Required
         this prosecution relates to a                    DOCKET NO.
                                                                                            Currently on bond
         pending case involving this same
         defendant. (Notice of Related                                                      Fugitive
         Case must still be filed with the
         Clerk.)
                                                             MAG. JUDGE
       prior proceedings or appearance(s)
                                                              CASE NO.
                                                                                  Defense Counsel (if any):
       before U.S. Magistrate Judge
       regarding this defendant were
       recorded under
                                                                                             FPD          CJA           RET'D
                                                                                                   Appointed on Target Letter
Place of    RHODE ISLAND                            County
offense

                                                                                           This report amends AO 257 previously submitted

      OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 3
   Set                  Title & Section/Offense Level                                      Description of Offense Charged                      Felony/Misd.
                                                                                                                                                Count(s)
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                 Felony
             See Attached Sheet.                                            See Attached Sheet.                                                  Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                                                                                                 Misdemeanor
                                                                                                                                                 Felony
                                                                            Estimated Trial Days: 14 days                                        Misdemeanor
